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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11       TROVE BRANDS, LLC, d/b/a                      No. 2:22-cv-02222 TLN CKD
         BLENDERBOTTLE COMPANY,
12
                         Plaintiff,
13                                                     ORDER
              v.
14
         TRRS MAGNATE LLC d/b/a HYDRA
15       CUP,
16                       Defendant.
17

18           Under the presiding district judge’s scheduling order, non-expert fact discovery was set to

19   close on February 29, 2024. (See ECF No. 29.) The court’s initial scheduling order directed that

20   in the discovery context, “completed” means “all depositions have been taken and any disputes

21   relative to discovery shall have been resolved by appropriate order if necessary, and where

22   discovery has been ordered, the order has been obeyed.” (ECF No. 10 at 2.)

23           On January 17, 2024, plaintiff (“Trove Brands, LLC, d/b/a BlenderBottle Co.”) filed a

24   motion to compel discovery. (ECF No. 50.) The parties were unable to cooperate for the purpose

25   of presenting the court with a rule-compliant joint statement on the discovery dispute and the

26   undersigned vacated the hearing on that motion to compel. 1 (ECF No. 65.)

27
     1
       For now, the motion to compel filed on January 17, 2024, remains pending. In the meantime,
28   fact discovery has closed.
                                                      1
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 1            On February 15, 2024, defendant (“TRRS Magnate LLC d/b/a Hydra Cup”) filed a motion

 2   to compel discovery. (ECF No. 69.) On February 29, 2024, defendant amended the motion to

 3   compel discovery and noticed the amended motion to compel discovery for a hearing to take

 4   place on April 10, 2024. 2 (ECF No. 76.) Both defendant’s original motion to compel discovery

 5   and amended motion to compel discovery were untimely filed under the current scheduling

 6   order. 3 (See ECF Nos. 10, 29.)

 7            Meanwhile, the parties filed cross-motions to the presiding district judge for unilateral

 8   extensions of the fact discovery deadline. (ECF No. 66, 71.) These motions are pending.

 9            For the reasons set forth above, IT IS HEREBY ORDERED as follows:

10            1.        The court VACATES the April 10, 2024, hearing on defendant’s amended motion

11   to compel discovery.

12            2.        If appropriate, defendant may re-set the hearing on the February 29, 2024,

13   amended motion to compel discovery, or file an amended and updated motion, following any

14   applicable extension of the discovery deadline by the presiding district judge.

15            3.        Similarly, if appropriate, plaintiff may re-set the hearing on the January 17, 2024,

16   motion to compel discovery, or file an amended and updated motion, following any applicable

17   extension of the discovery deadline by the presiding district judge.

18            4.        The parties and counsel are reminded that refusal without good cause to execute

19   the joint statement required by Local Rule 251 shall be grounds, in the discretion of the court, for

20   entry of an order adverse to counsel or adverse to the party represented by counsel so refusing.

21   Local Rule 251(d); see also Local Rule 110.

22   Dated: March 29, 2024
                                                          _____________________________________
23                                                        CAROLYN K. DELANEY
     8
24   trov22cv2222.123                                     UNITED STATES MAGISTRATE JUDGE

25   2
         Plaintiff has moved to strike defendant’s amended motion to compel discovery. (ECF No. 88.)
26   3
       In addition, the parties have been unable to cooperate for the purpose of presenting the court
27   with a rule-compliant joint statement on the discovery dispute. Instead, the parties separately filed
     affidavits regarding attempts at preparation of a joint statement for defendant’s amended motion
28   to compel. (ECF No. 91, 92.)
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